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UNITED STATES DISTRICT COURT or LY
MIDDLE DISTRICT OF FLORIDA GEC 1) p
ORLANDO DIVISION MAB 4 3: i
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MICHAEL W. BASS,
Plaintiff,

VS. Case No. 97-CIV-308-ORL-18

BOARD OF COUNTY
COMMISSIONERS, ORANGE
COUNTY, FLORIDA,

Defendant. p

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JOINT MOTION FOR TNLARGEME T OF PRETRIAZ/ AND TRIA Darggan C

INCORPORATED MEMORANDUM yy LAalStf aa C.

 

 

Plaintiff and Defendant, by and through their undersigned counsel, j Sintly request en. dL ft & CY
of the pretrial and trial dates set in this case, for the reasons stated below:

1. The Court recently issued a notice setting trial in this case for January 2, 2002, trial term.
The Court also scheduled December 14, 2001, as the deadline for the parties to file an amended
pretrial stipulation and December 18, 2001, as the date for a pretrial conference. The case had been

dormant for approximately three years while appeals were pending.

2. The parties urgently need an enlargement of these dates.

3. Plaintiff needs additional time to locate and serve witnesses. The origi

 

statement in this case was filed nearly three years ago, prior to the case going up’ 8 appealto the

Eleventh Circuit. At least half of the addresses of Plaintiff's witnesses listed in the pct stajemey
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are no longer valid. Plaintiff is in the process of tracking down these witnesses. Defégidant fe facing

similar problems with its witnesses.

4. Plaintiff needs extra time in order to research for damages purposes relevant promotion and

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pay developments occurring during the nearly three-year hiatus in this case. This cannot be done
quickly and will involve discovery through public records requests to Defendant. Further, Plaintiff's
exhibit list will need to be expanded as these records are obtained.

5. As Plaintiff has previously notified the Court, the date of January 2002 set for trial in the
instant case conflicts with that scheduled for another case on the Court’s docket in which Plaintiff's
counsel will be appearing as trial counsel.

6. Counsel for Defendant has several conflicts preventing counsel from adequately preparing
for the pretrial conference and a trial in January 2002. Specifically, counsel for Defendant are
involved in 10 depositions during the weeks of December 10 and 17, 2001, in cases with discovery
deadlines of January 31, 2002. In the same cases, counsel has depositions scheduled throughout
January. Counsel also has been involved in a seven-party trade secret case that has prevented him
from preparing for trial. Finally, lead trial counsel has a planned vacation that has already been paid
for at the end of January. This vacation was scheduled before the Court set this case for trial, and
before the Eleventh’s Circuit’s final ruling.

7. The law has changed during the nearly three-year hiatus in the case, not only as a result of
the Eleventh Circuit’s decision on appeal but also other intervening case law developments. The
parties need time to conduct thorough research to make sure they are up to date on the law and amend
their jury instructions accordingly.

8. The parties have been engaging in settlement discussions. Exploring settlement possibilities
has been time consuming, as the process in this case involves considerable research and fact finding.
The parties need extra time to continue their settlement negotiations.

9. Extension of the trial date to March 2002 should provide the parties sufficient time to

 
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prepare fully for trial and complete settlement negotiations.

10. Fed. R. Civ. P. 6(b) authorizes the Court to grant enlargements for cause. The
circumstances described above are sufficient cause for enlargement of the trial and pretrial dates.

11. The instant motion is timely.

For the foregoing reasons, the parties respectfully request that the Court enlarge the trial date
to March 2002 and enlarge the dates for filing an amended joint pretrial statement and holding a

pretrial conference accordingly.

so
Respectfully submitted this // day of December, 2001, by:

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HEA atl C ond HL bLAs #0485 $n.
Kevin Shaughnessy

fe ( Joseph Egan, Jr.

Florida Bar Ng. 180192 Florida Bar No. 473448
A 8g AE ‘ Akerman, Senterfitt & Eidson, P.A.

Kathryn S. Piscitelli 255 S. Orange Ave.
Florida Bar No. 368598 P.O. Box 231

EGAN, LEV & SIWICA, P.A. Orlando, FL 32802-0231
Post Office Box 2231 Phone: (407) 843-7860
Orlando, Florida 32802 Fax: (407) 843-6610
Phone: (407) 422-1400 Counsel for Defendant
Fax: (407) 422-3658

Counsel for Plaintiff

 
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Notice sent to:

Joseph Egan Jr., Esq.
, Egan, Lev & Siwica, P.A.
VV 231 East Colonial Dr.
4X oN P.O. Box 2231
Orlando, FL 32802-2231

Kathryn Sydny Piscitelli, Esq.
Egan, Lev & Siwica, P.A.

231 East Colonial Dr.

P.O. Box 2231

Orlando, FL 32802-2231

Kevin W. Shaughnessy, Esq.
Akerman, Senterfitt & Eidson, P.A.
255 S. Orange Ave.

P.O. Box 231

Orlando, FL 32802-0231

John P. Dempsey, Esq.

Akerman, Senterfitt & Hidson, P.A.
255 S. Orange Ave.

P.O. Box 231

Orlando, FL 32802-0231

 
